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                  IN THE UNITED STATES BANKRUPTCY COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA (Philadelphia)

 IN RE:
 DEBRA JOAN O'ROURKE                                     Case No. 18-14964-elf
       Debtor
                                                         Chapter 13
 WELLS FARGO BANK, NATIONAL
 ASSOCIATION AS TRUSTEE FOR OPTION
 ONE MORTGAGE LOAN TRUST 2007-5,
 ASSET-BACKED CERTIFICATES, SERIES
 2007-5
        Movant

 vs.
 DEBRA JOAN O'ROURKE
     Respondent                                          11 U.S.C. §362

MOTION OF WELLS FARGO BANK, NATIONAL ASSOCIATION AS TRUSTEE FOR
OPTION ONE MORTGAGE LOAN TRUST 2007-5, ASSET-BACKED CERTIFICATES,
SERIES 2007-5 FOR RELIEF FROM AUTOMATIC STAY UNDER §362 PURSUANT TO
                   BANKRUPTCY PROCEDURE RULE 4001

       Movant, by its attorneys, Brock and Scott PLLC, hereby requests a termination of Automatic

Stay and leave to foreclose on its mortgage on real property owned by DEBRA O’ROURKE (the

“Debtor”).

       1.      Movant is Wells Fargo Bank, National Association as Trustee for Option One

Mortgage Loan Trust 2007-5, Asset-Backed Certificates, Series 2007-5.

       2.      Debtor, DEBRA O’ROURKE, is the owner of the premises located at 2452-2454 S

Lee St, Philadelphia, PA 19148-4106 hereinafter known as the mortgaged premises.

       3.      Movant is the holder of a mortgage on the mortgaged premises.

       4.      Debtor's failure to tender monthly payments in a manner consistent with the terms of

the Mortgage and Note result in a lack of adequate protection.

       5.      Movant instituted foreclosure proceedings on the mortgage because of Debtor's failure

to make the monthly payment required hereunder.
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            6.     The foreclosure proceedings instituted were stayed by the filing of the instant Chapter

  13 Petition.

            7.     The following chart sets forth the number and amount of post- payments due

  pursuant to the terms of the Note that have been missed as of March 10, 2022:

 Number           From:         To:         Monthly          Monthly         Monthly           Total
of Missed                                   Missed            Missed         Payment         Amounts
Payments                                   Principal        Escrow (if       Amount           Missed
                                               and          applicable)
                                            Interest
   3           01/01/2022 03/01/2022        $528.13          $397.75         $925.88         $2,777.64
                                      Less post-petition partial payments (suspense balance): ($884.92)
                                                                                      Total: $1,892.72
            8.     A post-petition payment history is attached hereto as Exhibit “A”.

            9.     The next payment is due on or before April 1, 2022 in the amount of $925.88. Under

  the terms of the Note and Mortgage, Debtor has a continuing obligation to remain current post-petition

  and failure to do so results in a lack of adequate protection to Movant. Movant, Wells Fargo Bank,

  National Association as Trustee for Option One Mortgage Loan Trust 2007-5, Asset-Backed

  Certificates, Series 2007-5 requests the Court award reimbursement in the amount of $1,238.00 for

  the legal fees and costs associated with this Motion.

            10.    Movant has cause to have the Automatic Stay terminated as to permit Movant to

  complete foreclosure on its mortgage.

            11.    Movant specifically requests permission from the Honorable Court to communicate

  with and Debtor and Debtor's counsel to the extent necessary to comply with applicable

  nonbankruptcy law.

            12.    Movant, it's successors and assignees posits that due to Debtor's continuing failure to

  tender post-petition mortgage payments and the resulting and ever increasing lack of adequate

  protection that said failure presents, sufficient grounds exist for waiver of Rule 4001(a)(3), and that
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Movant, its successors or assignees should be allowed to immediately enforce and implement the

Order granting relief from the automatic stay.

       13.       Movant requests that if relief is granted that Federal Rule of Bankruptcy Procedure

3002.1 be waived.



       WHEREFORE, Movant respectfully requests that this Court enter an Order;

       a.        Modifying the Automatic Stay under Section 362 with respect to 2452-2454 S Lee

St, Philadelphia, PA 19148-4106 (as more fully set forth in the legal description attached to the

Mortgage of record granted against the Premises), as to allow Movant, its successors and assignees,

to proceed with its rights under the terms of said Mortgage; and


       b.        Movant specifically requests permission from this Honorable Court to communicate

with Debtor and Debtor's counsel to the extent necessary to comply with applicable nonbankruptcy

law; and

       c.        Holding that due to Debtor's continuing failure to tender post-petition mortgage

payments and the resulting and ever-increasing lack of adequate protection that said failure presents,

sufficient grounds exist for waiver of Rule 4001(a)(3), and that Movant, its successors or assignees,

should be allowed to immediately enforce and implement the Order granting relief from the automatic

stay; and

       d.        Awarding Movant attorney fees and costs related to this Motion in the amount of

$1,238.00; and

       e.        Waiving Federal Rule of Bankruptcy Procedure 3002.1; and
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      f.     Granting any other relief that this Court deems equitable and just.

March 28, 2022

                                            /s/ Andrew Spivack
                                            Andrew Spivack
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